CM/ECF-GA Northern District Court                                     https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?108436286625901...
                         Case 1:23-cv-00463-MLB Document 34 Filed 09/06/23 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                     1:23-cv-00463-MLB
                                                Gray v. City of Alpharetta et al
                                                 Honorable Linda T. Walker

                                    Minute Sheet for proceedings held In Chambers on 09/06/2023.

               TIME COURT COMMENCED: 9:30 A.M.
               TIME COURT CONCLUDED: 5:40 P.M.                      TAPE NUMBER: zoomgov
               TIME IN COURT: 8:10                                  DEPUTY CLERK: Traci Clements-Campbell
               OFFICE LOCATION: Atlanta

         ATTORNEY(S)                 Henry Cleland representing City of Alpharetta
         PRESENT:                    Henry Cleland representing Harold Shoffeitt
                                     James Diaz representing Jeffrey Gray
                                     Phillip Friduss representing City of Alpharetta
                                     Phillip Friduss representing Harold Shoffeitt
                                     James Jordan representing Jeffrey Gray
                                     Emily Schnidt representing Arick Furr
                                     Emily Schnidt representing Harold Shoffeitt
                                     Adam Steinbaugh representing Jeffrey Gray
                                     ** Molly Esswein (City Attorney)
                                     ** Chris Lagerboom (City Administrator)
                                     ** John Robinson (Chief of Police)
                                     ** William Rivard (Claims Attorney)
                                     ** Daijah Blackburn (LTW intern)
                                     ** Doraly Blanton (LTW intern)

         PROCEEDING                  Settlement Conference;
         CATEGORY:                   The parties came before the Court for a mediation. The parties reached an
         MINUTE TEXT:                agreement, in part. While the parties were able to reach an agreement with
                                     regard to the monetary aspect of the case, the parties were given
                                     additional time to revise and agree to policies governing panhandling,
                                     criminal trespass warnings on public property, and training. The Court
                                     directed the Defendants to provide Plaintiff with Defendants' current
                                     position on the three policy issues. The parties were also directed to
                                     exchange revisions over the next two weeks. The parties shall have up to
                                     and including September 25, 2023, to report back to the Court whether
                                     they have reached an agreement on the policy issues, if additional time is
                                     needed to exchange drafts, and/or if they need the Court's assistance to
                                     finalize the policies.
1 of 2                                                                                                               9/7/2023, 11:39 AM
CM/ECF-GA Northern District Court                        https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?108436286625901...
                         Case 1:23-cv-00463-MLB Document 34 Filed 09/06/23 Page 2 of 2

         HEARING STATUS:            Hearing Concluded




2 of 2                                                                                                  9/7/2023, 11:39 AM
